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                   IN THE UNITED STATES DISTRICT COURT
                             DISTRICT OF SOUTH CAROLINA
                                CHARLESTON DIVISION



IN RE: ALLURA FIBER CEMENT                           Civil Action No.: 2:19-mn-02886-DCN
SIDING LITIGATION
This Document Applies to: All Cases                  MDL No. 2886

                                                     Honorable David C. Norton




             DECLARATION OF DANIEL K. BRYSON IN SUPPORT OF
        PLAINTIFFS’ MOTION FOR APPROVAL OF ATTORNEYS’ FEES AND
                    REIMBURSEMENT OF EXPENSES, AND
               SERVICE AWARDS TO CLASS REPRESENTATIVES

       I, DANIEL K. BRYSON, hereby declare as follows:

       1.      I am Lead Counsel for Plaintiffs in this multidistrict litigation (“MDL”), having

been previously appointed by this Court. I make this Declaration in Support of Plaintiffs’

Motion for Approval of Attorneys Fees and Reimbursement of Expenses and Service Awards to

Class Representatives (the “Motion”). I have actively participated in this litigation, have personal

knowledge of the matters set forth herein, and if called to testify, could and would testify

competently thereto.

       2.      My firm, Whitfield Bryson LLP, along with Segui Law Firm, PC, Greg Coleman

Law, PC, Levin, Papantonio, Thomas, Mitchell, Rafferty & Proctor, P.A., Simmons Hanly

Conroy, LLC, and Gustafson Gluek, PLLC (collectively “Class Counsel”) and the other firms

serving as local counsel have principally litigated this case and have extensive experience in

prosecuting complex class actions, including significant experience in litigating building product

defect class actions. The resumes of Class Counsel were previously submitted in support of

Plaintiffs’ Motion for Preliminary Approval of Class Settlement, and included in ECF No. 24-2.
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        3.      Class Counsel regularly litigates complex class actions across the country,

including construction product defect class actions.

        4.      I have personally served as Lead Counsel in six building product MDLs,

including this one. I have served in other crucial roles in other building product class actions and

multidistrict litigation. There are few lawyers who possess the experience in litigating class

actions involving building products and their integration into homes than I do. Accordingly, I

am particularly familiar with the complexity of a building product case from beginning to

resolution, as well as the value of Class Counsel’s time in pursuing these claims.

        5.      Class Counsel’s years of experience representing consumers in complex class

action cases, as well as my particular experience in litigation building product cases, contributed

to our ability to properly investigate the claims at issue, hire well-qualified consultants and

experts in pursuit of that investigation, as well as properly and successfully litigation this

multidistrict litigation.

        6.      In pursuit of Plaintiffs claims against Defendants, Class Counsel expended more

than 3,400 hours of time and more than $102,000.00 in costs over the span of two and a half

years of litigation. See Allura Master Attorney Time and Cost Inventory attached hereto as

Exhibits A and B. Class Counsel’s time includes investigation of Plaintiffs’ claims, expert

investigation, discovery, complex legal analysis and briefing, as well as more than a year of

settlement negotiations further complicated by the COVID-19 pandemic.

        7.      To date, this Declaration follows more than two years of litigation, including the

above-referenced investigations, expert work, opposed formation of this MDL, briefing complex

legal issues such as arbitration validity and enforceability, and hard-fought settlement




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negotiations over the course of several days of mediation and negotiations with the aid of a

neutral mediator with substantial building products litigation experience, Thomas Wills, Esquire

          8.    As a result, Class Counsel negotiated a nationwide settlement class of owners of

single-family homes that are clad with Allura-branded fiber cement, lapboard siding containing

fly-ash (“Siding”).

          9.    The settlement reached by the Parties is complex and offers multiple options to

Settlement Class Members; options which account for the practical replacement of the product

itself in the context of the product’s placement on the homes at issue, provide for labor and other

costs not provided by the 50 Year Transferable Limited Product Warranty (“the Warranty”), and

includes practical factors such as entire elevation replacements and paint costs, as well as costs

associated with smaller replacements. Most importantly, this settlement is to be supported by a

Settlement Fund in the amount of up to $12,500,000.00 to pay for the costs of notice, approved

claims,

          10.   Accordingly, this Declaration is submitted in support of Class Counsel’s

unopposed request for Service Awards of $5,000.00 per Class Representative, attorneys’ fees of

$4,000,000.00 or 32% of the Settlement Fund, and reimbursement of costs, further detailed

herein. This fee is supported by precedent in the Fourth Circuit, as detailed in the Motion, and is

further supported by the attorneys’ fee lodestar that has accumulated in this litigation at a modest

multiplier of approximately two, utilizing adjusted rates approved by courts in this District as

well as Laffey Matrix1 hourly rates, which are considerably lower than several of Class

Counsel’s typical hourly rates.

                         Background and Relevant Procedural History


1   http://www.laffeymatrix.com/see.html


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          11.   This litigation began after Class Counsel received complaints in 2018 about

potentially defective Allura branded fiber cement siding that was cracking, warping, shrinking,

bowing, breaking, and otherwise prematurely and failing under normal conditions.

          12.   Class Counsel began performing investigations of these claims and damages,

including the similarity between this product and the CertainTeed fiber cement siding product,

which was the subject of settled multidistrict litigation.

          13.   Initially, Class Counsel performed extensive corporate research, as well as

research on the Siding that included building product standards, Plycem’s compliance with

installation instructions, representations regarding the Siding, warranties, Siding specifications

and performance representations, and various other materials. Class Counsel interviewed

witnesses, performed home inspections and held several group meetings for homeowners who

reported failures in their Siding.

          14.   In furtherance of the investigation into the cause of the product failure and

damage, Class Counsel spent significant time working with a well-qualified engineer to procure,

inspect and perform testing, including microscopy and materials testing, on various samples of

Siding.

          15.   The first Complaint was filed in August of 2018, in the South Carolina Court of

Common Pleas (Berkeley County). Following Plycem’s removal of the South Carolina action to

the District Court of South Carolina in November of 2018, Class Counsel filed ten additional

cases in District Courts of nine other states (North Carolina, Iowa, Ohio, Kansas, Georgia,

Minnesota, Massachusetts, Kentucky, and Florida).




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        16.     Each of the lawsuits alleged that the Siding was defective due to improper use of

excessive fly-ash in the Siding’s formulation, resulting in the documented cracking, warping,

shrinkage, bowing, breakage, and premature failure.

        17.     In response to the filings of these cases, Defendants hired well-qualified and

experienced building products and class action attorneys – Troutman Pepper f/k/a Pepper

Hamilton, LLP– to provide a vigorous defense.          Defendants, through counsel, vigorously

defended the claims in this action. Defendants denied, and continue to deny, that the Siding was

defective or that it harmed Plaintiffs or any individuals in the Class they seek to represent.

Defendants had filed and planned to continue to file numerous Motions to Dismiss, including

those in favor of arbitration.

        18.     I am very familiar with the complexity and difficulty in overcoming arbitration

provisions, having opposed many similar motions to compel arbitration in other cases.

Oftentimes, arbitration clauses are insurmountable obstacles to successfully pursuing class action

litigation in products cases, including building products. However, Class Counsel spent a

considerable amount of time analyzing, researching, and briefing the arbitration issues raised by

Defendants in this case.

        19.     In fact, Class Counsel filed oppositions to several of the Motions to Dismiss,

including those involving arbitration issues which required procurement of detailed affidavits

from several Class Representatives.

        20.     Although Plycem’s Motions were pending, litigation moved forward and

Plaintiffs served written discovery requests, subpoenaed and reviewed records from several

third-parties, drafted and negotiated orders pertaining to confidentiality and production of

electronically stored information/



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       21.     On January of 2019, Ohio Plaintiff, Shara Guinn, filed a Motion to Transfer

Actions to the Southern District of Ohio Pursuant to 28 U.S.C. § 1407, with the Judicial Panel on

Multidistrict Litigation (“JPML”). Plycem opposed the Motion to Transfer, citing to variations

in the products and state law. Plycem further contested Ohio as Plaintiffs’ proposed venue. A

contested hearing was held before the JPML on March 28, 2019. Shortly thereafter, on April 2,

2019, the JPML transferred the Plaintiffs’ actions to the District of South Carolina, under the

MDL name In re: Allura Fiber Cement Siding Products Liability Litigation, MDL No. 2886.

       22.     Following transfer of the case into this MDL, the Parties further engaged in

negotiations of a leadership Case Management Order and met to discuss the litigation

moving forward. At the initial status conference, the Parties agreed to attempt to engage in

settlement negotiations.

       23.     Consequently, the Parties performed additional work, including Fed. R. Evid.,

408 discovery, resulting meet and confers, mediation briefing, and consultations with

mediator, Thomas J. Wills, Esq.

       24.     As the Court is aware, those settlement negotiations began in the fall of 2019

and continued through numerous mediations and settlement meetings until the case was

resolved in February of 2020. The Parties then spent another seven months negotiating the

terms of the Settlement Agreement, as well as the numerous exhibits in support thereof.

       25.     In the event litigation had continued, or was to continue, Defendants maintain

they would re-file their numerous Motions to Dismiss, including those in favor of arbitration, and

argue in support thereof with the Court. Substantively, Defendants would continue to oppose

Plaintiffs’ claims that the Siding is defective and would attempt to demonstrate that the vast

majority of Siding did not manifest the alleged defect or damages. In addition, Defendants would



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oppose any Motion for Class Certification filed by the Plaintiffs, arguing that class certification

is improper because there is no common defect, and any damage to the Siding is the result of

installation or other handling errors.

 The Settlement Achieves an Excellent Result for the Settlement Class and Is the Result of
     Extensive Investigation, Hard-Fought Litigation, and Arms-Length Negotiations

       26.     The Settlement was reached only after Class Counsel engaged in substantial

investigation of the alleged fly-ash related Defect in the Siding through consumer interviews,

inspection, testing, and analysis of the Siding by a well-qualified engineering consultants, review

of installation instructions, building codes, specifications, and industry standards, as well as

relevant discovery, and complex motion practice.

       27.     The Parties’ mediated settlement negotiations began in the fall of 2019, and

continued over the course of approximately six months, and included three (3) in person

mediation sessions, an informal settlement meeting in Washington D.C., and frequent follow-up

discussions and negotiations with the aid of Thomas Wills, Esq., a neutral mediator who has

substantial experience mediation class actions and building product litigation.

       28.     To aid in the negotiations the Parties exchanged and reviewed critical documents

and information pursuant to Fed. R. Evid., Rule 408. Included in the multiple productions were

Defendants’ sales and formulation records, which enabled Class Counsel to properly evaluate the

Class Period, Class size, and other crucial information in establishing the settlement structure

during negotiations. The Parties held meet and confers regarding the materials exchanged, and

Class Counsel utilized this information when proposing a settlement structure and initial

demand.

       29.     Thus, Plaintiffs and Class Counsel entered into settlement negotiations with

substantial information about the nature and extent of the challenged Siding, and the merits of

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the legal claims and factual allegations. Plaintiffs and Class Counsel had the benefit of an

engineering consultant’s testing and investigation of the Siding, as well as the ability to review

key documents in this matter.

       30.     Review of this information positioned Class Counsel to evaluate with confidence

the strengths and weaknesses of Plaintiffs’ claims and prospects for success at class certification,

summary judgment, and trial.

       31.     The negotiations with Defendants were complex, and involved detailed, lengthy

and repeated discussions regarding the practicalities of replacing portions of home elevations, the

ability to obtain contractors to perform smaller replacement work, the effect of paint matching

where elevations were not being replaced, reasonable labor and associated costs of replacing the

Siding. Consequently, virtually every provision of the Settlement Agreement and its many

exhibits were subject to extensive negotiations, including the structure of the Settlement itself

and the claims process, and a myriad of other related issues.

       32.     The crux of the settlement negotiations was the establishment of the

$12,5000.000.00 Settlement Fund to pay for the costs of notice, the claims deemed eligible, and

the attorneys’ fees and reimbursement of costs.

       33.     Over a span of approximately seven more months, the Parties worked diligently

and expended a substantial amount of time and effort to finalize the terms of the Settlement

Agreement and ancillary documents, and the plan for class notice, which was completed in

October of 2020 after combatting Defendants’ financing issues resulting from the COVID-19

pandemic. During this time, the Parties conducted detailed negotiations regarding the language

of the class notice and claim forms, and the methodology of the notice plan. Id.




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       34.     In October of 2020, the Parties filed their Motion for Preliminary Approval of the

Proposed Class Settlement (ECF No. 24), which the Court granted on December 18, 2020 (ECF

No. 25).

   35. The Settlement Class consists of the following:

       All individuals or entities who, as of the Effective Date, own a single-family
       house in the United States on which the Siding is installed. (“Settlement Class
       Members”). Fly-ash is presumed to be present in Allura branded fiber cement,
       lapboard siding that was manufactured at the following plants and installed during
       the identified time periods:

       (1) Plycem’s plant in Roaring River, North Carolina and installed on homes
       between February 18, 2014 and September 1, 2015; or

       (2) Plycem’s plant in White City, Oregon and installed on homes between
       February 18, 2014 and September 1, 2014.

       Excluded from the Settlement Class are

       (1) all persons who timely opt-out of this Settlement under Federal Rule of Civil
       Procedure 23; (2) owners of multi-family and commercial buildings; (3) Plycem
       employees; and (4) the Judge to whom this case is assigned and any member of
       the Judge’s immediate family.

   Plaintiffs and Plycem agree that the Settlement Class includes tens of thousands of members.

       36.     The Agreement provides for Settlement Class Members with the following

benefits, to be paid for from the Settlement Fund:

       Settlement Class Members eligible for relief under the Settlement will receive

compensation for replacement product, labor, and related costs. The amount of compensation

depends on which compensation option the claimant selects, and accounts for a threshold level of

damage that will result in total elevation replacements. Settlement Class Members with

Qualifying Damage on less than 30% of an Elevation will receive compensation for the portion

of the elevation with Qualifying Damage. Claimants with Elevations experiencing Qualifying

Damage on 30% or more of an Elevation will be eligible for compensation for the entire

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Elevation. Any claimant with an Elevation with less than 30% of Qualifying Damage will be

eligible to receive an additional paint allowance to compensate for aesthetic issues associated

with partial repairs of the Siding. Notably, the compensation will not be reduced to account for

proration related to the age of the Siding.

       As defined in section 1.23 of the Settlement Agreement, Qualifying Damage includes a

board of Siding that has experienced cracking, bowing, shrinking, warping, breakage, or gapping

(greater than 3/16”). Significantly, Replacement Area is defined as follows:

           •   For each Elevation where Qualifying Damage exists on 30% or more of the entire

               elevation, then that Elevation’s Replacement Area will be the entire Elevation.

           •   For each Elevation where Qualifying Damage exists on less than 30% of the

               entire Elevation, then that Elevation’s Replacement Area will be limited to the

               square footage containing Qualifying Damage


       As described herein, Settlement Class Members will have the following three Options

with regard to Qualifying Damage and the Replacement Area:


   Option 1: “Replacement and Repair.” The Class Member electing this Option will receive:

   •   $1 per square foot towards the cost of primed fiber cement board equal to the size of the
       Replacement Area

   •   $4.75 per square foot of Replacement Area to contribute to additional repair costs,
       including installation labor, paint, home wrap, trim, and all other repairs and/or incidental
       work (“Additional Costs”);

   •   An additional $200 if the total Replacement Area is 20 boards or fewer; and

   •   a paint allowance of $1.00 per square foot for the entire Elevation where the Replacement
       Area is less than 30% of the Elevation.


This is the procedure for this option:

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   •   Within 30 days after final approval of the Claim, the Claims Administrator will pay 30%
       of the amount of Additional Costs described above.

   •   The Settlement Class Member must then perform repairs, including replacing the Siding
       that was determined to be in the Replacement Area.

   •   The Settlement Class Member must provide proof of repair to the Claims Administrator,
       who must promptly review the proof and accept or deny it.

   •   Within 30 days after proof of repair is accepted by the Claims Administrator, the Claims
       Administrator will pay the remaining 70% of Additional Costs.

       Option 2: “Quick Cash Option.” The Claims Administrator will pay the Settlement Class

Member $4.25 per square foot of Qualifying Damage. The Claims Administrator will pay 100%

of the amount within 30 days of final approval of the Claim. This option provides compensation

solely for Siding exhibiting Qualifying Damage.

       Option 3: “Cash Option with Proof of Repair.” This option is initially only available for

claims with Qualifying Damage that does not exceed 30% of an Elevation. Under this option, the

Claims Administrator will pay $4.25 per square foot of Qualifying Damage within 30 days after

final approval. If the Settlement Class Member then provides sufficient proof of repair for the

entire Elevation, the Claims Administrator will pay the Settlement Class Member $4.25 per

square foot of the remaining portions of the Elevation.

       37.     Further, Defendants have agreed that the costs of Notice and Administration

Costs, Service Awards, Attorneys’ Fee and reimbursement of costs will be paid from the

Settlement Fund.

       38.     The maximum amount of Attorneys’ Fees and Costs for which Class Counsel may

apply pursuant to paragraph 10.2 of the Settlement Agreement is 33% of the total value of the

settlement, including the Settlement Fund (or up to $4,125,000.00, if based solely on the fund).


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This amount was negotiated independently from the other terms of the Settlement after a

settlement in principle was reached on all other material terms, under the supervision and with

the assistance of Tom Wills.

       39.     The benefits afforded by the Settlement reflect a reasoned compromise, which

takes into consideration the risks inherent in all complex class litigation, and the numerous issues

particular to this Action. Plaintiffs and Class Counsel are confident in the strength of their case,

but they are also pragmatic in their awareness of the various defenses available to Defendants,

including arbitration clauses, which are complex. The risks and obstacles in this case are just as

great as those in other product defect class actions and this case would likely have taken years to

successfully prosecute, with the risk that there would be no recovery at all. Recovery, if any, by

any means other than settlement would require additional years of litigation in the district courts

and on appeal. If this Action was not settled and was required to proceed to trial, the Parties

would incur significant additional expenses, including the further payment of expert witnesses

and technical consultants, along with substantial time devoted to briefing Plaintiffs’ motion for

class certification, Daubert motions, and summary judgment motions, preparing for and

conducting trial, post-trial motion practice, and appeal, all of which could have impacted the

recovery in this Action. The proofs necessary to prevail at trial would be greater than what is

required under the Settlement. Settlement Class Members may receive relief under the

Settlement with certain documentation and an electronic Claim Form. Under the circumstances,

Plaintiffs and Class Counsel appropriately determined that the Settlement is the best vehicle for

the Settlement Class to receive the relief to which they are entitled in a prompt and efficient

manner.




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       40.      In sum, the Settlement includes substantial benefits for Class Members and

multiple options for recovery, including options not otherwise available under the Warranty,

options of full replacement of elevations meeting the threshold 30% requirement of Qualifying

Damage, and a quick cash option. The Settlement is fair and reasonable in light of Defendants’

defenses, and the challenging, unpredictable path of litigation Plaintiffs would have faced absent

a settlement.

                The Skill, Experience, Reputation, and Ability of Class Counsel

       41.       Class Counsel has significant experience in the litigation, certification, trial, and

settlement of national class actions, including numerous claims against appliance and product

manufacturers, and have recovered hundreds of millions of dollars for the classes they have

represented.    Class Counsel includes firms with appellate expertise, which was used to

extensively analyze the chances of success in both the Federal Appellate Courts and the U.S.

Supreme Court. The experience, resources, and knowledge Proposed Class Counsel brings to

this Action is extensive and formidable.

       42.       Class Counsel have devoted substantial time and resources to this Action,

including more th an 3400 hours of work to date, and are qualified to represent the

Settlement Class, and will vigorously protect the interests of the Settlement Class.

       43.       These hours were reasonable in light of the complexity and procedural posture

of the case, and care was taken to avoid duplication of efforts and appropriately divide tasks

amongst Plaintiffs’ Steering Committee members. Similarly, a reduced number of those

members attended mediation also to avoid duplication of time.

       44.       As previously submitted, the resumes of Class Counsel are extensive and

demonstrate experience in prosecuting complex class actions. See ECF No. 24-2 (Class Counsel



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Resumes).

       45.       As detailed in my firm resume, I am a founding partner of Whitfield Bryson,

LLP, and have spent more than 32 years representing individuals in building product and

consumer class actions, mass torts, and various other types of litigation. I have tried numerous

cases, many of which have resulted in multi-million-dollar verdicts. As discussed above, I have

been appointed as Lead Counsel in multiple building product cases consolidated into multi-

district litigation, and has served on several Plaintiffs’ Steering Committees and in other

leadership positions. Many of those class actions have likewise resulted in multi-million-dollar

settlement recoveries for consumers. Similarly, I have been appointed as Class Counsel in

numerous actions certified by courts. Consequently, I am a frequent lecturer and writer on a

variety of building product class action, insurance, and mass tort related disputes. I have been

quoted by a variety of media outlets over the years, including the Wall Street Journal,

Washington Post, New York Times, Law360, and Lawyers Weekly to name a few. I have been

named as a member of the Legal Elite and Super Lawyers in North Carolina on numerous

occasions. I have been awarded the designation of one of the Top 25 lawyers in Raleigh by

Charlotte Magazine for a number of years including 2020. I am on the Executive Board and

Vice-President of the Public Justice Foundation Board. Public Justice is a nationwide public

interest law firm. I am also an adjunct professor at Campbell Law School in Raleigh, NC, where

I teach “Introduction to Class Actions and Multi-district litigation.”

       46.       Other members of my firm who contributed to this litigation are also very

experienced in class action, and building product litigation, including Scott C. Harris and Harper

T. Segui. Harper T. Segui, who contributed more hours than any other lawyer in this litigation,

was a member of the Plaintiffs’ Steering Committee in this litigation, as well as in In re Windsor



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Windows Wood Clad Window Products Liability Litigation, MDL 2688, in the United States

District Court for the Eastern District of Wisconsin. She likewise played instrumental roles in

litigating other building product based multidistrict litigation, including In re MI Windows and

Doors, Inc. Products Liability Litigation, MDL 2333, in the United States District Court for the

District of South Carolina, and In re Pella Corporation Architect Designer Series Windows

Products Liability Litigation, MDL 2514 in the United States District Court for the District of

South Carolina.

       47.        Class Counsel, comprised of the Plaintiffs’ Steering Committee, have lengthy

representative cases, collectively totaling over a billion dollars in recoveries in complex class

actions and mass torts cases. See ECF No. 24-2 (Class Counsel Resumes). Most have served in

numerous leadership positions, including Co-Lead counsel, Class Counsel, and Steering

Committee positions. Id. Therefore, the Adjusted Laffey Matrix rates utilized as support for the

lodestar crosscheck are more than reasonable in light of the experience, skill, and expertise

brought to this litigation by Class Counsel.

       48.        Additionally, Class Counsel have made every effort to litigate this matter

efficiently by coordinating the work of all attorneys and paralegals, minimizing duplication, and

assigning tasks in a time and cost-efficient manner, based on timekeepers’ experience levels and

talents. Thus, Class Counsel organized and cooperated amongst each other to prosecute the

claims of the Plaintiffs in an efficient and non-duplicative manner.

       49.        In pursuing this Action on behalf of Plaintiffs and the Settlement Class, Class

Counsel’s firms expended more than 3,400 billable hours to this litigation, often in blocks of

time that prevented engagement in other matters. As Class Counsel continues to be involved in

claims administration, any objections that may be filed, drafting of the Motion for Final



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Approval of Class Settlement, preparation and participation in the Final Fairness Hearing in

May, numerous additional hours will be expended in the future.

       50.       The accompanying Motion sets forth the extensive tasks that were performed in

this action, including the substantial investigation of claims and defenses through expert

investigation, consumer interviews, discovery, hard-fought litigation of Defendants’ motions to

dismiss, and contentious, arms-length negotiations over the course of just over one-year to

ensure the fairness and adequacy of the Settlement.

       51.     The    aforementioned     billable     hours   calculation   was    prepared   from

contemporaneous detailed daily time records regularly prepared and maintained by Class

Counsel utilizing timekeeping software. In Class Counsel’s opinion, the time spent by attorneys

and staff of our firms was reasonable and necessary. Indeed, by prosecuting this case purely on a

contingency basis and not being paid by the hour, Class Counsel worked efficiently and avoided

unnecessary work.

       52.     Likewise, the hourly rates provided by the Laffey Matrix are conservative in light

of the complexity of this building product case, and rates utilized by lawyers of this level of

experience and skill set around the country.

       53.     Further, in pursuing this Action on behalf of Plaintiffs and the Class, our firms

expended and advanced $102,771.46. See Exhibit B.

       54.     As previously indicated, Class Counsel anticipates that they will spend additional

time and incur additional expenses between the date of this filing and the Final Approval

Hearing in connection with preparing for and attending the Final Approval Hearing. Moreover,

additional attorney time will be devoted to this case including for preparing the Motion for Final




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Approval, supervising aspects of the administration of the Settlement, answering Settlement

Class Member questions, and helping resolve any issues that arise.

       55.     Further, Class Counsel intends to complete any confirmatory discovery that may

be needed, as provided by the Settlement Agreement, and otherwise including inspections of

homes and to aid in with the filing of claims.



I declare under penalty of perjury that the foregoing is true and correct.



Executed on January 7, 2021


                                                      /s/ Daniel K. Bryson_____
                                                      Daniel K. Bryson
                                                      Whitfield Bryson LLP
                                                      Lead Counsel




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Master Attorney Fee Time
Name       Hours      Rate         Total

Whitfield Bryson                                       Hours     $$
DKB             307.2        800  245760                1857.21 1064099
HTS             873.6        650  567840                 463.65     279080
SCH           294.75         650 191587.5                    129 78331.5
JRW               0.6        400     240                     251    183620
NCL               1.5        400     600                    50.9 36866.4
JCW              1.75        800    1400                   640.4    374295
Para          377.81         150 56671.5                    14.4      6480
             1857.21             1064099                3406.56 2022772

Segui Law Firm
PWS            324.4         800     259520
AB               4.5         300       1350
MV              76.8         400      30720
AMB              95          650      61750
Para           139.7         150      20955
               640.4                 374295

Greg Coleman Law
GC           198.15          800     158520
RS            192.4          650     125060
MES                1         800        800
LAW            13.9          600       8340
JD               0.1         400         40
WAL              9.7         400       3880
JHG              3.8         400       1520
RPM            29.4          600      17640
Para           15.2          150       2280
             463.65                  318080

Gustafson Gluek
MJL             73.5         650     47775
RB                10         600      6000
JSK            24.75         800     19800
DEG             1.25         800       894
LSW             2.25         400       900
DAG             0.75         650      487.5
Para            16.5         150      2475
                129                 78331.5

Levin Papintonio
BC             216.8         800     173440
BG                0.3        400        120
MS                  2        800       1600
RT               14.7        400       5880

                                           EXHIBIT A
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Para           17.2   150      2580
               251           183620

Simmons Hanley
MB             31.5   800     25200
BB                2   300       600
AT             17.4   600    11066.4
               50.9          36866.4

Local Iowa
KL             13.6   450      6120
MB              0.8   450       360
               14.4            6480
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Copies and Postage               553.26
WB             65.24
GCL              43.4
GG             48.68
LP           274.75
SLF           121.19


Research Fees                  2,363.64
WB          1072.32
GCL           576.34
GG            192.41
LP            522.57




Delivery/Service Fees            1243.99
WB             12.85
SLF           496.19
GG             354.2
SCH           380.75


Travel                            43357
WB           21903.51
SLF           1395.32
GG            3752.47
SHC           2537.82
LP            8472.11
GCL           5295.77


Meals                            6252.93
WB             4654.2
SLF           1598.73


Court Fees                       5468.55
WB              3137
SLF              150
GG              449.2
KL               400
SCH            395.25
LP              937.1


Phone Conferencing                  14.1
WB             9.48

                                           EXHIBIT B
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LP               4.62


Mediation (Non-Lit Fund)             2828.25
WB          2828.25

Homeowner Meeting                     270.63
SLF        270.63


Lit Fund (Mostly Expert Costs)        38500
WB             12500
GG               6500
SCH              6500
LP               6500
SLF              6500

Lit Financing Costs                  1919.11
WB            1919.11


TOTAL                            102,771.46
